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5
6    Attorneys for Defendant
     HENRY LAM
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 11-148 MCE
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   HENRY LAM,                                          RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable MORRISON C. ENGLAND
16
17             Defendant, HENRY LAM by and through his attorney, Assistant Federal Defender David
18   M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant
19   U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On November 14, 2012, this Court sentenced Mr. Lam to a term of 52 months

25   imprisonment;

26             3.         His total offense level was 23, his criminal history category was I, and the

27   resulting guideline range was 46 to 57 months;

28

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Lam was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Lam’s total offense level has been reduced from 23 to 21, and his amended
5    guideline range is 37 to 46 months; and,
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Lam’s term of imprisonment to a term of 41 months.
8    Respectfully submitted,
9    Dated: January 6, 2015                             Dated: January 6, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt                                    /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           HENRY LAM
15
16                                                     ORDER
17             This matter came before the Court on the stipulated motion of the defendant for reduction
18   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19             The parties agree, and the Court finds, that Mr. Lam is entitled to the benefit of
20   Amendment 782, which reduces the total offense level from 23 to 21, resulting in an amended
21   guideline range of 37 to 46 months.
22             IT IS HEREBY ORDERED that the term of imprisonment imposed in November 2012 is
23   reduced to a term of 41 months.
24             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
25   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
26   reduction in sentence, and shall serve certified copies of the amended judgment on the United
27   States Bureau of Prisons and the United States Probation Office.
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1              Unless otherwise ordered, Mr. Lam shall report to the United States Probation Office
2    within seventy-two hours after his release.
3              IT IS SO ORDERED.
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     Dated: January 15, 2015
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     Stipulation and Order Re: Sentence Reduction      3
